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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION
   ____________________________________
                                         )
   STATE OF LOUISIANA, et al.,           )
                                         )
                            Plaintiffs,  )
                                         )
               v.                        )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                         )
   CENTERS FOR DISEASE CONTROL           )
   & PREVENTION, et al.,                 )
                                         )
                            Defendants.  )
   _____________________________________)

      DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR MOTION TO STAY
         DISTRICT COURT PROCEEDINGS PENDING APPEAL OR, IN THE
          ALTERNATIVE, FOR AN EXTENSION OF TIME TO RESPOND TO
                    THE SECOND AMENDED COMPLAINT
           Defendants respectfully request that the Court stay further proceedings in this case pending

   Defendants’ appeal of the Preliminary Injunction issued by this Court, except as to any issue that may

   arise from compliance with the Preliminary Injunction. See Louisiana v. CDC, No. 22-30303 (5th Cir.).

   As explained below, the Fifth Circuit’s ruling on the issues on appeal, including threshold issues, could

   control the outcome of this case. At a minimum, the Fifth Circuit’s decision will be relevant to this

   Court’s resolution of the claims at issue. A stay of proceedings would thus promote efficiency,

   conserve judicial and party resources, and permit the parties and the Court to receive the Fifth Circuit’s

   guidance in any further proceedings. Accordingly, this Court should exercise its discretion to
   temporarily stay district court proceedings during the pendency of the Fifth Circuit appeal.

           In the alternative, Defendants respectfully request that the Court extend their deadline to

   respond to the Second Amended Complaint to 21 days after the Court resolves Defendants’ motion

   to stay district court proceedings. Defendants have conferred with Plaintiffs, who have stated that

   they consent to the requested extension of time but oppose the requested stay.
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                                              BACKGROUND

             On April 1, 2022, CDC issued an order terminating its prior Title 42 suspension orders, with

   an implementation date of May 23, 2022. 87 Fed. Reg. 19,941 (Apr. 6, 2022) (Termination Order).

   On April 3, 2022, Plaintiffs brought this suit to challenge the Termination Order for failing to meet

   the Administrative Procedure Act’s notice-and-comment requirements and as arbitrary and capricious

   agency action. ECF No. 1. On April 14, 2022, Plaintiffs moved for a preliminary injunction. ECF

   No. 13.

             After briefing and a hearing, the Court granted Plaintiffs’ motion for a preliminary injunction
   in a written memorandum ruling on May 20, 2022, and issued a nationwide preliminary injunction.

   ECF Nos. 90, 91. Defendants have filed a notice of appeal. ECF No. 92. One of the proposed

   intervenors whose intervention motion was denied by this Court has similarly filed a notice of appeal,

   ECF No. 95, and has additionally moved to stay the Preliminary Injunction in the Court of Appeals.

                                                ARGUMENT

             A “[d]istrict Court has broad discretion to stay proceedings as an incident to its power to

   control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). The court may exercise this power

   in the interest of, among other things, “economy of time and effort for itself, for counsel, and for

   litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); accord United States v. Colomb, 419 F.3d 292,

   299 (5th Cir. 2005); see also Woodson v. Surgitek, Inc., 57 F.3d 1406, 1417 (5th Cir.1995) (“The federal

   courts are vested with inherent power ‘to manage their own affairs so as to achieve the orderly …

   disposition of cases[,]’ … includ[ing] the power of the court to control its docket[.]” (citation omitted));
   Hood ex rel. Mississippi v. Microsoft Corp., 428 F. Supp. 2d 537, 541 (S.D. Miss. 2006) (“Granting a stay is

   within the court’s discretion and a stay is appropriate when it serves the interests of judicial economy

   and efficiency.”).

             Consistent with that discretionary power, a judge in this court recently stayed district court

   proceedings pending appeal of a denial of a preliminary injunction motion in an Administrative

   Procedure Act case, reasoning that “[b]ecause the issues are purely legal and discovery is limited to the

   administrative record,” the Fifth Circuit’s resolution of the appeal would be “informative and

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   instructive to the district court on the merits of the case.” Memorandum Order at 6, Chambless Enters.

   v. CDC, No. 30-cv-1455 (W.D. La. Apr. 19, 2021), ECF No. 52; see also Memorandum & Order at 2,

   Missouri v. Biden, No. 4:21-cv-01329 (E.D. Mo. Dec. 22, 2021), ECF No. 40 (staying proceedings “while

   the appeal of the preliminary injunction unfolds,” because appellate decisions “likely will guide further

   proceedings in this case”); Order, Brown v. Azar, No. 20-cv-03702 (N.D. Ga. Dec. 9, 2020), ECF No.

   60 (staying proceedings pending appeal of denial of motion for preliminary injunction); Minn. Voters

   Alliance v. Walz, 494 F. Supp. 3d 610, 611–12 (D. Minn. 2020) (staying proceedings pending appeal of

   preliminary injunction because, among other things, the appeal was “likely to resolve some of the legal
   issues in dispute”); Beltronics USA, Inc. v. Midwest Inventory Distrib., LLC, 545 F. Supp. 2d 1188, 1190

   (D. Kan. 2008) (staying proceedings pending appeal of preliminary injunction to await Tenth Circuit’s

   resolution of a legal issue that “would significantly advance the course of th[e] litigation” and best

   serve “the time and effort of the parties and the court”); Bray v. QFA Royalties, LLC, No. 06-cv-02528,

   2007 WL 2688858, at *1 (D. Colo. Sept. 12, 2007) (staying proceedings pending appeal of preliminary

   injunction because “the Tenth Circuit’s determination of the legal issues inherent in [the] preliminary

   injunction decision will edify further proceedings on those same . . . claims for permanent injunctive

   relief”).

               Indeed, district courts within this circuit also routinely exercise their discretion to stay district

   court proceedings to promote judicial economy and efficiency when a case pending before the court

   of appeals presents issues similar to those before the district court. See, e.g., ING Bank N.V. v. M/V

   Bulk Finland, IMO No. 9691577, No. 15-5975, 2017 WL 2798469, at *2 (E.D. La. June 28, 2017)
   (“Granting a stay pending the resolution of [a] Fifth Circuit case, . . . will conserve the Court’s

   resources and prevent the parties from engaging in unnecessary appeals or undertak[ing] unnecessary

   discovery and pretrial actions.”); Greco v. Nat’l Football League, 116 F. Supp. 3d 744, 761 (N.D. Tex.

   2015) (finding that “the interests of the parties, and appropriate conservation of judicial resources,

   weigh in favor of granting a stay” where “[t]he issues [on appeal] will very likely bear on this case”);

   Eaton Vance Municipals Tr. v. Conegie, No. 06-117, 2007 WL 1484539, at *1 (N.D. Miss. May 18, 2007)

   (“While the pending appeal does not preclude this Court’s consideration of the issues raised by

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   defendant’s Motion to Dismiss, the Court concludes that the interests of judicial economy and

   efficiency militate in favor of a stay.”).

           Here, a stay pending the resolution of Defendants’ Fifth Circuit appeal, which may include

   certain threshold issues, would serve the interests of judicial economy and efficiency because the Fifth

   Circuit’s opinion is likely to bear on the resolution of this case, including whether a remand to the

   agency would be necessary. As in Chambless, because the issues in this case are purely legal and review

   is limited to the administrative record, “it is in the interest of judicial economy to stay the proceeding

   pending the Fifth Circuit’s review.” Memorandum Order at 6, Chambless Enters. v. CDC, No. 30-cv-
   1455, ECF No. 52. It would waste the Court’s and the parties’ resources for the parties to brief, and

   for the Court to consider, dispositive motions prior to a Fifth Circuit opinion that may substantially

   inform, and perhaps control, the resolution of any such motions. See id.; see also, e.g., Greco, 116 F.

   Supp. 3d at 761.

           Moreover, a temporary stay pending appeal will not prejudice Plaintiffs because the

   Preliminary Injunction is in effect during the pendency of the appeal and Defendants have not sought

   a stay of the injunction pending appeal. Although one of the proposed intervenors has moved for a

   partial stay of the Preliminary Injunction pending appeal, that does not weigh against a stay of

   proceedings in this Court. If the Fifth Circuit denies the request, a stay of district court proceedings

   would not prejudice Plaintiffs. And if the Fifth Circuit grants the proposed intervenor’s request, that

   would be all the more reason for the Court to wait for the Fifth Circuit’s views on the proper scope

   of relief. Should the Fifth Circuit grant the proposed intervenor’s request, Defendants will promptly
   notify this Court, and the Court could then modify the stay of proceedings as it deems appropriate.

           If the Court is not inclined to stay proceedings pending appeal, Defendants respectfully

   request in the alternative that the Court grant their consent motion to extend their deadline to respond

   to the Second Amended Complaint to 21 days after the Court resolves Defendants’ motion to stay

   district court proceedings. The United States Attorney was served with the complaint in this matter

   on April 7, 2022, and the Second Amended Complaint was filed on May 5, 2022. Defendants’

   response to Plaintiffs’ Second Amended Complaint is currently due on June 6, 2022. Fed. R. Civ. P.

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   12(a)(2). Undersigned counsel reached out to Plaintiffs’ counsel on May 25, 2022 to request Plaintiffs’

   position on the stay motion, and was informed on June 2 that Plaintiffs oppose the stay motion but

   consent to the requested extension of time.

                                             CONCLUSION

          For the foregoing reasons, Defendants respectfully request that the Court grant their motion

   to stay district court proceedings pending appeal. If the Court is not inclined to stay proceedings

   pending appeal, Defendants respectfully request in the alternative that the Court grant their consent

   motion to extend their deadline to respond to the Second Amended Complaint to 21 days after the
   Court resolves Defendants’ motion to stay district court proceedings.



   Dated: June 3, 2022                                    Respectfully submitted,

                                                          BRIAN M. BOYNTON
                                                          Principal Deputy Assistant Attorney General
                                                          U.S. Department of Justice, Civil Division

                                                          JEAN LIN
                                                          Special Litigation Counsel (NY #4074530)

                                                          /s/ John Robinson
                                                          JOHN ROBINSON (DC #1044072)
                                                          JONATHAN D. KOSSAK (DC #991478)
                                                          Trial Attorneys
                                                          1100 L St. N.W.
                                                          Washington, DC 20530
                                                          U.S. Department of Justice, Civil Division
                                                          Federal Programs Branch
                                                          (202) 616-8489
                                                          Jean.lin@usdoj.gov
                                                          Jonathan.kossak@usdoj.gov
                                                          John.j.robinson@usdoj.gov

                                                          Attorneys for Defendants




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